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Attorneys for Defendants Johnson & Johnson,
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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

                                              )
MICHAEL PERRONE, TOM TARANTINO and            )
ROCHELLE ROSEN,                               )
                                              )    CIVIL NO. 19-cv-00923 (FLW)
                     Plaintiffs,              )
                                              )
       v.                                     )     DEFENDANTS’ NOTICE OF
                                              )     MOTION TO DISMISS THE
JOHNSON & JOHNSON, PETER FASOLO,              )    AMENDED COMPLAINT AND
DOMINC J. CARUSO, and JOHN DOES 1-20,         )   TO STRIKE THE JURY DEMAND
                                              )
                     Defendants.              )
                                                  ORAL ARGUMENT REQUESTED
                                              )
                                              )
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       PLEASE TAKE NOTICE that, on August 8, 2020, the undersigned attorneys for

defendants Johnson & Johnson, Peter Fasolo, and Dominic J. Caruso shall move for an Order

dismissing the Amended Complaint and striking the jury demand.

       PLEASE TAKE FURTHER NOTICE that the undersigned shall rely upon the

accompanying brief and Certification of Keith J. Miller in support of the motion. A proposed

form of Order is submitted herewith.

       PLEASE TAKE FURTHER NOTICE that oral argument is requested.




 Dated: July 30, 2020                              Respectfully Submitted,

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                              CERTIFICATION OF SERVICE

       I certify that on July 30, 2020, I caused a copy of the attached Notice of Motion and the

documents referenced therein to be filed and served on counsel of record via the Court’s

electronic filing system.



                                                            /s/ Keith J. Miller




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